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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JENNIFER L. WHITAKER,

                                          Plaintiff,                     Case No.

                         v.                                              COMPLAINT

                                                                         (JURY TRIAL DEMANDED)
ON THE RIGHT TRACK SYSTEMS, INC.,

                                          Defendant.


         Jennifer L. Whitaker, by and through her attorneys, Burns & Schultz LLP, for her

complaint against defendant On The Right Track Systems, Inc., states:

                                                 PARTIES

         1.       Plaintiff Jennifer L. Whitaker (“Plaintiff” or “Whitaker”) is a resident of the State of

Georgia, residing at 150 The Preserve Drive, Unit 1A, Athens, Georgia 30606.

         2.       Defendant On The Right Track Systems, Inc. (“Defendant” or “OTRTS”) is a New

York corporation with its principal place of business at 174 Hudson Street, New York, New York

10013.

                                     JURISDICTION AND VENUE

         3.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because

complete diversity exists between Plaintiff and Defendant and the amount of controversy, exclusive

of interest and costs, exceeds the sum of $75,000.

         4.       Venue is proper in this Court pursuant to 28 U.S.C. 1391 because Defendant resides

in this judicial district and a substantial part of the events or omissions giving rise to Plaintiff’s

claims occurred in this judicial district.
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                                    FACTUAL BACKGROUND

       5.       On July 27, 2010, Whitaker obtained a patent as the inventor of a shower curtain with

an integral flap for accommodating a tub transfer bench from the United States Patent Office, U.S.

Patent No. 7,761,935 (“’935 Patent”).

       6.       OTRTS is in the business of manufacturing, distributing, and selling patented cubicle

curtain track systems and cubicle curtains for the healthcare industry.

       7.       On or about October 24, 2010, Whitaker sent an e-mail to OTRTS seeking to find

a source to purchase fabric and to manufacture her patented shower curtain.

       8.       On or about October 25, 2010, Keil Merrick (“Merrick”) of OTRTS responded to

Whitaker’s e-mail, informing Whitaker that OTRTS had manufactured and sold over 10 million

shower curtains and would be happy to explore a partnership with Whitaker.

       9.       On or about November 5, 2010, Merrick e-mailed Whitaker and provided

Whitaker with what Merrick termed a “Draft Agreement” outlining the terms of the financial

relationship between OTRTS and Whitaker.

       10.      On or about November 9, 2010, Whitaker formed Curtain Cuts LLC (“Curtain

Cuts”), a Virginia limited liability company. At all relevant times, Whitaker solely owned

Curtain Cuts.

       11.      On or about December 6, 2010, Merrick e-mailed Whitaker the terms of a

contract between OTRTS and Whitaker.

       12.      On or about January 18, 2011, through a Patent Assignment agreement, Whitaker

assigned the ‘935 Patent to Curtain Cuts and Curtain Cuts’ successors and assigns. A true and

correct copy of the Patent Assignment is incorporated into this Complaint and attached as

Exhibit 1.




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       13.     Effective on or about May 23, 2013, the Commonwealth of Virginia State

Corporation Commission voluntarily cancelled Curtain Cuts as a limited liability company. At

that time, Whitaker, as the successor and/or assignee of Curtain Cuts, became the legal owner of

the ‘935 Patent.

       14.     Effective January 31, 2011, Whitaker, through her assignee Curtain Cuts, entered

into a Patent License Agreement (“License Agreement”) with OTRTS. A true and correct copy

of the License Agreement is incorporated into this Complaint and attached as Exhibit 2.

       15.     As the assignor of the ‘935 Patent to Curtain Cuts, the parties intended that the

License Agreement was entered into for Whitaker’s benefit, and Whitaker was an intended third-

party beneficiary of the License Agreement.

       16.     Pursuant to Section 11.1 of the License Agreement, and/or as a matter of law, upon

Curtain Cuts’ voluntary cancellation as a Virginia limited liability company on or about May 23,

2013, Whitaker, as Curtain Cuts’ successor and/or assignee, succeeded to Curtain Cuts’ business,

and all of Curtain Cuts’ assets, benefits, and contractual rights and obligations, including all rights

and obligations arising out of the License Agreement.

       17.     Pursuant to Section 2.1 of the License Agreement, OTRTS was granted an

exclusive license under the Patent to make, use, offer to sell, sell, and import Products related to

the Patent. In return, pursuant to Section 3 of the License Agreement, OTRTS was obligated to

pay a royalty of seven percent (7%) of the Net Sales Price of all Products sold under the license

as well as a commission of ten percent (10%) of the Net Sales Price for sales made to businesses,

and fifteen percent (15%) of the Net Sales Price for sales to individuals.




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       18.     Section 4.1 of the License Agreement provided that in addition to the royalties

owed pursuant to Sections 3.2 and 3.3 of the Agreement, OTRTS was obligated to pay a

minimum royalty for the following calendar years as follows:

               Calendar Year                 Minimum Royalty
                  2014                          $23,750.00
                  2015                          $26,250.00
                  2016                          $27,500.00
                  2017                          $27,500.00
                  2018                          $27,500.00
                  2019                          $27,500.00
                  2020                          $27,500.00

       19.     Section 5.1 of the License Agreement provided OTRTS is required to pay the

minimum royalty for each year that a minimum royalty is owed on or before the last day of the

following January of the year it is owed.

       20.     Since the License Agreement was entered into in 2011, OTRTS paid Whitaker

personally and directly royalties and commissions. However, OTRTS failed to pay the required

minimum royalty for each year, and OTRTS is obligated to pay, and owes, Whitaker the

following amounts for minimum royalties pursuant to the License Agreement:

       Calendar Year     Minimum Royalty       Royalty Paid     Amount Owed       Due Date
          2014            $23,750.00           $12,828.90        $10,921.10       1/31/2015
          2015            $26,250.00           $1,851.27         $24,398.73       1/31/2016
          2016            $27,500.00           $1,547.81         $25,952.19       1/31/2017
          2017            $27,500.00           $3,139.92         $24,360.08       1/31/2018
          2018            $27,500.00           $3,820.76         $23,679.24       1/31/2019
          2019            $27,500.00           $4,817.55         $22,682.45       1/31/2020
          2020            $27,500.00           $4,483.23         $23,016.77       1/31/2021
                                               Total Owed        $155,010.56

       21.     At all relevant times, OTRTS knew of the voluntary cancellation of Curtain Cuts

as a Virginia limited liability company and never objected to Whitaker assuming to all rights,

benefits, and obligations of Curtain Cuts pursuant to the terms of the License Agreement.




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       22.      At all relevant times, OTRTS knew and recognized Whitaker was an intended

third-party beneficiary to the License Agreement, and as such, OTRTS had a duty an obligation

to pay Whitaker for all sums due and owning pursuant to the terms of the License Agreement.

       23.      At all relevant times, OTRTS knew and recognized Whitaker was the successor or

assignee of Curtain Cuts and as such, OTRTS had a duty an obligation to pay Whitaker for all

sums due and owning pursuant to the terms of the License Agreement.

       24.      At all relevant times, Whitaker assumed all rights and obligations arising under

the License Agreement.

       25.      At all relevant times, OTRTS paid all royalty payments due under the terms of the

License Agreement directly to Whitaker personally.

       26.      At no time did OTRTS pay royalties owed pursuant to the License Agreement to

Curtain Cuts.

       27.      At all relevant times, for the royalties OTRTS paid pursuant to the terms of the

License Agreement, OTRTS issued 1099-MISC tax forms to Whitaker personally.

       28.      At no time did OTRTS issue any tax form to Curtain Cuts for royalty payments

made pursuant to the License Agreement.

                                             COUNT I
                                (Failure to Pay Minimum Royalties)

       29.      OTRTS breached the License Agreement by failing to pay the minimum royalties

required to be paid pursuant to the terms of the License Agreement.

       30.      As the successor to Curtain Cuts, the assignee of Curtain Cuts, and/or an intended

third-party beneficiary of the Agreement, Whitaker succeeded to Curtain Cuts’ rights and interests in

the License Agreement, and OTRTS is obligated to pay, and owes, Whitaker the minimum royalties

due under the terms of the License Agreement.



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        31.     Whitaker demanded payment from OTRTS of the minimum royalties due, but

OTRTS refused to pay.

        32.     As a result of OTRTS’s breach of its obligation to pay minimum royalties, Whitaker

is entitled to judgment against OTRTS for all unpaid minimum royalties for the past six years, plus

interest.

                                             COUNT II
                                         (Unjust Enrichment)

        33.     Whitaker repeats and realleges each and every allegation contained in paragraphs 1 –

32 of this Complaint as if fully set forth in this complaint.

        34.     OTRTS benefited, and is continuing to benefit, at the expense of Whitaker, from the

assignment of the ‘935 Patent to OTRTS pursuant to the License Agreement and its failure to pay

the minimum royalties due pursuant to the terms of the License Agreement.

        35.     Equity and good conscience require that the amounts OTRTS owed and retained for

the minimum royalties be restored to Whitaker, and that OTRTS be required to pay Whitaker

damages for all minimum royalty payments OTRTS failed to pay pursuant to the License

Agreement.

        36.     Whitaker demanded payment from OTRTS of the minimum royalties due, but

OTRTS refused to pay.

        37.     Whitaker is entitled to judgment against OTRTS for all unpaid minimum royalties

for the past six years, plus interest.

                                             COUNT III
                                          (Quantum Meruit)

        38.     Whitaker repeats and realleges each and every allegation contained in paragraphs 1 –

37 of this Complaint as if fully set forth in this complaint.




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        39.     Whitaker, as the successor or assignee of Curtain Cuts, or as a third-party beneficiary

of the License Agreement, provided valuable consideration and benefits to OTRTS through the

assignment of the ‘935 Patent to OTRTS.

        40.     OTRTS accepted the consideration and benefits provided to it by Whitaker through

the assignment of the ‘935 Patent.

        41.     Whitaker and OTRTS reasonably expected OTRTS to pay all royalty and minimum

royalty payments due pursuant to the License Agreement to Whitaker, as the successor or assignee

of Curtain Cuts, or as a third-party beneficiary of the License Agreement.

        42.     Whitaker is entitled to judgment against OTRTS for all unpaid minimum royalties

for the past six years, plus interest.

        WHEREFORE, plaintiff Jennifer L. Whitaker respectfully requests that the Court award her

the following relief:

        (a)     With respect to Count I, that the Court enter judgment against OTRTS for unpaid

minimum royalty payments in an amount believed to be at least $155,010.56;

        (b)     With respect to Count II, that the Court enter judgment against OTRTS for unpaid

minimum royalty payments in an amount believed to be at least $155,010.56;

        (c)     With respect to Count III, that the Court enter judgment against OTRTS for unpaid

minimum royalty payments in an amount believed to be at least $155,010.56;

        (d)     Pre-judgment and post-judgment interest as provided by law;

        (e)     For such other and further relief as the Court deems just and proper.




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Dated: January 29, 2021                        BURNS & SCHULTZ LLP




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